       Case 1:25-cv-00613-MLB           Document 14-3          Filed 03/19/25       Page 1 of 21




     (17-2) (Part 17-2) 03.12.25: Appellants' Rule 59(e) Application to Vacate Dkt. 6f llNmERK'S OFFICE
                                                                                                    U.S.D.C. • Atlanta
                              UNITED ST ATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA                                        MAR 19 2025
                                    ATLANTA DIVISION
                                                                                               KEVIN P WEIMER C
                                                                                           ~      L~,              ,     lerk

                        Case No. 1:25-cv-00613-MLB                                             I , ~ ~ t y Clerk




ULYSSES T. WARE and d/b/a GROUP MANAGEMENT (a sole proprietorship),
Appellants,

V.

ALPHA CAPITAL, AG, STONESTREET, L.P., MARKHAM HOLDINGS, L.P., AMRO
INTERNATIONAL, S.A., KILPATRICK, TOWNSEND & STOCKTON, LLP, DENNIS S.
MEIR, JOHN W. MILLS III, J. HENRY WALKER, IV, W AB KADABA, KENNETH A.
ZITTER, ARIE RABINOWITZ, LH FINANCIAL SERVICES CORP., KONRAD
ACKERMANN, JOSEPH HAMMER, TRAILBLAZER MERGER CORP. I, WENDY L.
HAGENAU, JAMES H. MORA WETZ, THE OFFICE OF THE U.S. TRUSTEE, REGION
21, MARY IDA TOWNSEND, M. REGINA THOMAS, PATRICIA SINBACK,
MARGARET H. MURPHY, JOYCE BIHARY, COLEMAN RAY MULLINS,
SECURITIES    AND   EXCHANGE      COMMISSION,    FINANCIAL  INDUSTRY
REGULATORY AUTHORITY (FINRA), BARBARA ELLIS-MONRO, MARCIA E.
ASQUITH, ROBERT L.D. COLBY, ROBERT W. COOK, EMMA JONES, SARAH
JEFFRIES, THE STATE BAR OF GEORGIA, OFFICE OF THE GENERAL COUNSEL,
WILLIAM D. NESMITH Ill, PAULA FREDERICK, LEIGH BURGESS, WILLIAM
ALAN MYERS, ADRIENNE NASH, JENNY MITTLEMEN, JONATHAN HEWETT,
PATRICK N. ARNDT, MICHAEL D. HOSTETTER, NALL & MILLER, LLP, MANIBUR
S. ARORA, EOW ARO T. M. GARLAND, MICHAEL F. BACHNER, DAVID B. LEVITT,
DONALD F. SAMUEL, JANICE SINGER, ALEXANDER H. SOUTHWELL, THOMAS
W. THRASH, JR., MICHAEL P. BOGGS, THOMAS A. LEGHORN, LAWRENCE B.
MANDALA, BAKER & MCKENZIE, LLP, ROBERT H. ALBARAL, JOHN F. KING,
AND OFFICE OF THE GEORGIA INSURANCE COMMISSIONER, JOHN DOES
INSURANCE                         COMPANIES                     ##1-5,
Appellees.


Submitted by: Ulysses T. Ware, Attorney in fact for the Appellants.

/s/ Ulysses T. Ware

OJ{  "r?, 'vl(JN-
Page 1 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NDGA).
         Case 1:25-cv-00613-MLB                                        Document 14-3                           Filed 03/19/25                       Page 2 of 21




                                                                    Table of Contents
A.       Introduction .............................................. .................................................... .... ................ .... .............. 4

B.       The Court overlooked and/or misapprehended the legal and factual significance of the
following indisputable facts: .................................... .... .............................................................................. 4

C.       Discussion and analysis . .. ..... ....................... ............................. .......................................................... 5

D.       Requested relief. .................... ......... .................. ........................... ... ...................... ......... ..................... 7

Exhibit A-(297) (03-93031)-Dkt. 6, March 6, 2025, Order.............................................. ........ ............ 9

Exhibit B--February 25, 2025, filing via U.S. mail of Appellants' timely response to Dkt. 4, Order .
 ... ............ ............. ..... ..................... .. ................. ..... ............... ......... .. ......... .... ........................... ........ ............ 11

Exhibit 1-Appellants' refiling of their Feb.25.2025, timely response to the District Court's Order, Dkt.

4. ··················· ························· ········ ······················ ···························· ·········· ······················ ···· ··········· ······ ······ 12
     Pending delivery to District Clerk's Office (NDGA), Feb. 25, 2025, response to Dkt. 4, Order.... 13

Exhibit 2-Appellants' Feb. 25, 2025, timely response to Dkt. 4, Order . ... ............. .. ... ... ......................... 14

Exhibit 3-Group Management's Feb. 25, 2025, entry of appearance in 25cv00613 (NDGA) . .. ...... 15

Exhibit 4-Feb. 25, 2025, Appellants' email to the Chamber of the Hon. District Judge Michael L.
Brown, actual and constructive receipt of filing of Appellants' Feb. 25, 2025, response, and entry of
appearance in 25cv00613 (NDGA), see Ex. 3, supra . .............. ..... ......................................................... . 16

Exhibit 5-Appellees' Alpha Capital, AG, et al., voluntary Rule 4l(a)(2) dismissal with prejudice of
the underlying 02cv2219 (SDNY) lawsuit . ............................................... .......... .. ........ ........................... 17

Exhibit 6-March 12, 2025, filing of Appellants' Rule 59(e) application to vacate Dkt. 3, March 10,
2025, order (MLB) . ...... ......... ................................... .................. ........... .. .............. .. .. .. .. .......................... .. 19
End of document ................................................. ........................ .... ........... .. ... .. ... ...... ..... ... .... ..... .. ..... .. .. ... 20




Page 2 of 20
Wednesday, March 12, 2025
{17-2) (Part 17-2) re : Appellants' Rule 59{e) application of reconsideration of 0kt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
     Case 1:25-cv-00613-MLB             Document 14-3          Filed 03/19/25       Page 3 of 21




                        The Office of Ulysses T. Ware
                                      123 Linden Blvd., Ste 9-L
                                        Brooklyn, NY 11226
                                           (718) 844-1260
                                       utware007@gmai l.com

                              Wednesday, March 12, 2025, 2:05:56 PM

                       VIA CERTIFIED MAIL#: 7022 0410 0001 1417 8798

VIA ELECTRONIC and U.S. MAIL

The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S . Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, et al. v. Alpha Capital, AG, et al., Case No. 25cv00613 (NDGA) - Appellants'
Response Regarding Dkt. 6 Order of Dismissal for Appellant Group Management.

     APPELLANTS' RULE 59(e) APPLICATION TO VACATE DKT. 6: RESPONSE
      REGARDING DKT. 6 ORDER OF DISMISSAL FOR APPELLANT GROUP
                 MANAGEMENT, A SOLE PROPRIETORSHIP.

TO THE HONORABLE COURT:

        Appellants Ulysses T. Ware and Group Management (collectively, "Appellants"), by and

through undersigned attorney-in-fact, Ulysses T. Ware, pursuant to Fed. R. Civ. P. Rule 59(e), 1

respectfully submit this Rule 59(e) Application to Vacate Dkt. 6, Order: Response to address the

Court's Order of Dismissal, Docket Entry 6 ("Dkt. 6"), dated March 10, 2025 , dismissing




1
  Rule 59(e): (e) Motion to Alter or Amend a Judgment. A motion to alter or amend a judgment must be
filed no later than 28 days after the entry of the judgment.

Page 3 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
     Case 1:25-cv-00613-MLB              Document 14-3          Filed 03/19/25        Page 4 of 21




Appellant Group Management from the above-referenced appeal, Case No. 25cv00613 (NDGA),

"without prejudice."


A.      Introduction.
        Appellants respectfully submit that the Court's dismissal "without prejudice" of Appellant

Group Management, a sole proprietorship, while understood as an effort to ensure proper

representation before this Honorable Court, appears to be predicated upon an erroneous factual

finding, lacking in record support, regarding the legal status of Appellant Group Management.

Specifically, 0kt. 6 states: "The Court ordered Appellant Group Management [a sole

proprietorship} to have counsel [Ulysses T. Ware, see 28 USC § 1654}2 file a notice ofappearance

with the Clerk no later than March 6, 2025. (Dkt. 4.) [see Ex. 3, infra: Appellants' entry of

appearance,filed via U.S. mail and dated Feb. 25, 2025]. The Court warned Appellant that failure

to comply may result in sanctions, including dismissal. (Id.) Appellant has failed to comply with

the Court's order. Accordingly, the Court DISMISSES Appellant Group Management without

prejudice for failure to comply with a lawful order of the Court."


B. The Court overlooked and/or misapprehended the legal and
factual significance of the following indisputable facts:
        On February 25, 2025, again on March 61 2025, and again on March 8, 2025, via certified

mail #9589 0710 5270 0693 4844 81, Appellants submitted to the District Clerk (NOGA), see Ex.



2
 28 U.S. Code § 1654 - Appearance personally or by counsel.
"In all courts of the United States the parties mav plead and conduct their own cases personally or by
counsel as, by the rules of such courts, respectively, are permitted to manage and conduct causes therein."


Page 4 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk {NOGA).
     Case 1:25-cv-00613-MLB             Document 14-3          Filed 03/19/25       Page 5 of 21




1, infra, (Brown, J.) Chambers via email, (see Ex. 4, infra), and filed via the U.S. mail, addressed

to the District Clerk, (NDGA), their response to the Court's Dkt. 4, Order, which included an entry

of appearance by the Rule l 7(a)(l )(G) real party in interest, Group Management, a sole

proprietorship since Dec. 31 1 2003. Accordingly, Appellants fully, and timely complied with the

Court's directive to have counsel file an entry of appearance in 25cv00613 (NDGA). See Ex. 3,

infra.



C.       Discussion and analysis.
         Appellants respectfully submit that this dismissal order is based upon an inadvertent factual

misapprehension and legal error, insofar as the District Court' s Order appears to operate under the

erroneous factual premise that Appellant Group Management is a (i) corporation, (ii) an artificial

entity, or (iii) a limited liability company, thereby necessitating representation by separate legal

counsel. There is no record evidence or proof in the Bankruptcy Court, 03-93031, as of February

13, 2025, the date of Dkt. 4, Order, of the current existence, as of December 21, 2003 , of Appellant

Group Management being an "artificial entity."


         The record evidence shows that as of December 31, 2003, Ulysses T. Ware, d/b/a Group

Management owned all legal and equitable title to all assets, interests, and claims of the former

defunct Chapter 11 Debtor, Group Management Corp. Accordingly, pursuant to binding Supreme

Court precedent, Ulysses T. Ware d/b/a Group Management, a sole proprietorship, is the Fed. R.

Civ. P. 17(a)(l)(!)(G) real party in interest, and Rule 41(a)(2) Final Judgment Prevailing Party,

see Ex. 5, infra, Appellee Alpha Capital, AG, et al. 's Dkt. 90, Dec. 20, 2007, voluntary dismissal

with preiudice of the underlying 02cv22 l 9 (SDNY) lawsuit-ipso facto a binding factual judicial

Page S of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA) .
     Case 1:25-cv-00613-MLB             Document 14-3         Filed 03/19/25        Page 6 of 21




admission of the mootness of all prior orders, judgments, and proceedings in 02cv22 l 9 (SDNY)

and by necessary implication .in 03-93031, and in 25cv00613 (NDGA), see Dkt. 5-1 , 5-2, 5-3, 5-

4, 5-5, and 5-6 (25cv00613) (NDGA). 3


        In fact, and as unequivocally established in Appellants' prior filings, including Docket

Entry 16-5 and Exhibit D thereto (IRS Sole Proprietorship Certificate), Appellant Group

Management is, in truth and in fact, a sole proprietorship. legally indistinguishable from its

individual owner and operator, Ulysses T. Ware. As a sole proprietorship, Appellant Group

Management is not subject to the general rule prohibiting artificial entities from appearing prose.


        Rather, and as expressly authorized by federal statute, 28 U.S.C. § 1654, and definitively

affirmed by binding Supreme Court precedent, Rowland v. California Men's Colony, 506 U.S.

194 (1993), Appellant Group Management, as a sole proprietorship, is lawfully and properly

represented pro se by its individual owner, Ulysses T. Ware, who is duly appearing before this

Court as Attorney in Fact for Appellants-Movants. See Ex. 3, infra, filed on Feb. 25 , 2025, via the

U.S. mail, addressed to the Office of the District Clerk (NDGA).


        The legal rationale for this well-established principle is clear: 28 U.S.C. § 1654

explicitly grants individuals the right to represent themselves prose in federal court, and this

right extends to representing their business interests when operating as a sole proprietorship.

As the Supreme Court clarified in Rowland, this right of self-representation is primarily limited to




3
 25cv00613 (NOGA) 0kt. 5-13 , page 46-47, the Parties ' Rule 8009(d) Joint Stipulated Appellate Factual
Record. Ex . 5, infra.     ·

Page 6 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
      Case 1:25-cv-00613-MLB            Document 14-3         Filed 03/19/25       Page 7 of 21




"natural persons," and does not extend to artificial legal entities such as corporations, partnerships,

or limited liability companies. However, Rowland and 28 U.S.C. § 1654 unequivocally affirm the

right of individual sole proprietors, such as Appellant Ulysses T. Ware d/b/a Group Management,

to appear before this Court pro se.


         Therefore, Appellants respectfully submit that the factual predicate for the Court's

Dismissal Order (Dkt. 6) is factually and legally lacking a record factual foundation, as Appellant

Group Management is not an entitv requiring separate legal counsel, but rather, a sole

proprietorship lawfullv represented prose bv its owner, Ulvsses T. Ware. See 28 USC § 1654,

and Rowland, Id.



D.       Requested relief.
WHEREFORE, for the foregoing reasons, Appellants Ulysses T. Ware and Group Management

respectfully request that this Honorable Court:


     1. Vacate and set aside its Order of Dismissal, Docket Entry 6, dated March 10, 2025, as

         legally erroneous and predicated upon a demonstrably inaccurate factual finding.

     2. Recognize and affirm Appellant Group Management, a sole proprietorship, and Rule

        4l(a)(2) Final Judgment Prevailing Party in 02cv2219 (SDNY), lawful and proper prose

        appearance in this matter, consistent with 28 U.S .C. § 1654 and controlling Supreme Court

        precedent.

     3. Grant such other and further relief as this Court deems just, equitable, and proper.


DATED: March 12, 2025

Page 7 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
     Case 1:25-cv-00613-MLB             Document 14-3          Filed 03/19/25       Page 8 of 21




Respectfully submitted,

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utwarc007@grnail.com




Page 8 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA) .
     Case 1:25-cv-00613-MLB             Document 14-3         Filed 03/19/25        Page 9 of 21




Exhibit A-(297) (0J-93031)--Dkt. 6, March 6, 2025, Order.




Page 9 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
    Case 1:25-cv-00613-MLB              Document 14-3          Filed 03/19/25        Page 10 of 21




           Case 03-93031- bem     Doc 297    Filed 03/12/25   Entered 03/12/25 11:39:18  Desc Main
                  Cas e 1 :25- cv-00613- ML!ilPCUrnfflllmerRime i=m;~ 03/10/25  Page 1 of 2




                         IN THE U NIT ED S TATES DISTRI CT C O U R T
                       F OR T HE NORTHERN D ISTRI CT O F GEORGIA
                                    ATLANTA DIVIS ION

             Ulys ses T. W are and Group
             Managen1ent,

                                       Appellants,
                                                           Case No. 1:25-cv-613 -MLB
             V.

             Alpha Capital, AG , et al. ,

                                       Appellees,

             - - - -- - - - - - - - - - - ~/

                                                 ORDE R

                   The Court ordered Appellant Group Managem e nt to have counsel

            file a notice of appearance with the Clerk no later than March 6, 2025.

            (Dkt 4.) The Court warned Appellant that failu re to comply may res ult
            in s anctions, including dismissal.      (I d .) Appellant has failed to comply

            with the Court's order.

                   Accordingly, the Court DIS MISSES Appellant Group Management

            without prej udice for failure to comply with a lawful order of the Court.

            See LR 41.3(A)(2), NDGa .




           C ase 03- 93031-bem     Doc 297   Filed 03/12/25 Entered 03/12/25 1 1:39 :18 Des c Main
                    Case 1:25- cv- 00613-ML!ilPCUmsmlmeiff~e ~m;e, 03/10/25    Page 2 of 2



                  S O ORDE R E D this 10th day of March, 2025.




                                                  ~
                                               MJC: .ELLBROWN
                                                                                      .
                                               UNITED ST A TES D ISTRICT JUDGE
Page 10 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 0001 1417 8798 addressed to the Office of
the District Clerk (NOGA) .
              Case 1:25-cv-00613-MLB            Document 14-3             Filed 03/19/25   Page 11 of 21




         Exhibit B-February 25, 2025, filing via U.S. mail of Appellants'
         timely response to Dkt. 4, Order.

The Offlt• of UlyUQ T.Ware
123\.lnden IW., St• M.
Brooklyn, NV 112%6
 N.•4t4 u. OlJJ~: '




                                      Office of the OlstrlctCterk
                                      United States District Court
                                      Northern District of Geor,18
                                      1988 Rlchard a.Russett u.s. Cou~n
                                      75 'red 1umet Olive,, SW
                                      Atlatlta, GA 30303




         Page 11 of 20
         Wednesday, March 12, 2025
         (17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
         2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
         the District Clerk (NDGA).
        Case 1:25-cv-00613-MLB             Document 14-3               Filed 03/19/25   Page 12 of 21




     Exhibit 1-Appellants' refiling of their Feb. 25. 2025, timely response to
     the District Court's Order, Dkt. 4.



~~ofUtyuuT,Wffl
1U~M.,S.M.
~.HYnnt




                                          . ..,.. ~Ctwt
                                          \lnJtid 5-1 Dltttlct Court
                                          ~DttttictofOeotat,
                                          '*AlcNNSI.RUbtUU.S.~
                                          ?I Ted Turnw ~SW
                                          .,_OA3h02




    Page 12 of 20
    Wednesday, March 12, 2025
    (17-2) {Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
    2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
    the District Clerk (NDGA) .
    Case 1:25-cv-00613-MLB                             Document 14-3                    Filed 03/19/25                    Page 13 of 21




Pending delivery to District Clerk's Office (NOGA), Feb. 25, 2025, response to Dkt.
4, Order.



                 Tracking Number.

                  9589071052700693484481
                 ([J Copy     ~ Add to Informed Oelivel}'


                                                                                             Moving Through Network
                    Latest Update

                    Your package will arrive laler than expected, but is still on its
                    way. It is currnnlly ir) transit to the next facility.
                                                                                         I
                                                                                         e   In Transit to Next Facility, Arriving late
                                                                                             Ma,ci, f 1. 21)25




                                                                                        i
                                                                                             Deperted Post Office
                                                                                             BH(X)KI.YN , NY f 1226
                    Get More out of USPS Trecking:                                           March 8 , 2<l2S. 2:26 pm
                     m_ USPS Tracking Plus"'


                                                                                        i
                                                                                             USPS in pos.session of item
                                                                                             BHOOKlYN , NY 11 226
                                                                                             March B, 2(Y25. 12:12 pm


                                                                                         •   Hide TraekR'lg H istory



                                                                                         What Do USPS Traclong Statuses Mean?




Page 13 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
    Case 1:25-cv-00613-MLB                         Document 14-3                    Filed 03/19/25               Page 14 of 21




Exhibit 2-Appellants' Feb. 25, 2025, timely response to Dkt. 4, Order.




                                                             (l(,-5) (l'art 16-S)
                                 Case No.. 25cv0 06 13 (NDGA) (M L B)
                                                                                                                    PL,AJNTIFF'S
                                              UN lTim STATES DISTRICT cou1n                                           EXHJBJT
                                        Jl'ORTH& NOltl"HY.RN f>lST(UCT 01-· Gl!ORGIA
                                                     ATl,ANTA DIVISION
                                                                                                                I          z.

             U'l,YSSES T. ~ •Aft£, d/bla a:.Ct"tirup M-H11g1.-m.e11t, and Group Man,-geme.111 (• 111oie
             ptoprit lu,:ab.lp ),i
             A ppelluts.

                      V,


             Alph.a Capita!. AG, et al .•~
             Appell£a.

                                                              ()o appeal from;
                                          In re GROUP MANAGEMENT CORP~ D.!blor.
                                            C:uc No. 0)•9l0:l I (l3C NDGA) Cbaptect J t

             App.,llab' fb:sponse Prier in s ~ of Appellant Ware's St;atuS aJ the. Only Lawfully
             Authorized Rad Pa\1.y in l1Jter~ Under Federal Rufe of Civil .Procedure 17(a)(l)(O) and Appellant
             Oroup Mardiffl'IClit '$ Status as a.Si,{~ Propridor:mipAuthotit:ed to A.p}'lcsar H cn:in in Pro sc status
             Pun.uwtl to 28 U.S.C. § 1(,54 and llt1-.rlt1."'11'. Callfw-ni• }Jn,!.s Colony, llnlt II :v~n •.s AiMw,y
             C<OIUU'il, S06 Ult 194,_ 202·0){1:993).

             1
               Sec- &. O, infr A.ppelhmt WJIN 1'nd Oro!;,p MllmiJfflW!!:I( ~ lawfully it\:llbo'rized to appear ooein in•
             p,-o we staM by fedctal law, '2:S lJSC § 1654 and SUJ)fflnC Court binding pre..-.edc.nt, ltowlif.nd ,, Colifof'llill
             Af401J1'<J C"'-J~ U,,,lt II ~,,,,~sAhlu,y 'Cflaftdl, S06 U.S. 194, .202..03 (1993) ("Thu.'r, l,ll,•c in a few
             abenant C!HeS, the lo"'ff <"OUl'U ha e unifOff'llfy hdd ,t ut 18 U, S. C. § l6S4, J>Tovi-ding lhal "parties: rna,y
             pi¢ad and cnndUict tb<it mr.1t c~~ pcts.mally or by coun$!tl." docs not allo cpC1M"f!lpn~, pgrtnml'lm-r,
             o/ •U wktfen• to arrc• in r...~a.1 court Mhcrwlse than thrmqJh • !itemed attorney.~) . (cil:ati®~ omiu~)
             (~mpham added), A.ppellaitt GmQJJ Mm~oemmt is ndl.lwr a ~lion, a ~ t i p , or an lU/$0eialion:.
             AppelWtt Crolip ,,,_.~,_ _, U .- Mil, pn,pdnonlil,p tq;.istemd •ith ~ IRS ti 5\N$, ~ E.~ fd.• mfl'U.
             1 App:U- Alpl\;> (.apitat, AQ,
                                               $looe$1#'t,(t l •.t• Mwlduam m,tdings, L:1<i. and Amru lntcm~itc:mnl, 5 ,A,,
             the clients of Appcllce AdAnla,. OA. law finn Kilpar:m-k. T owmcit<'f. & Sto..~lmm, 1.I...P ("KTStt), s:<:¢. Pkt. I J
             (03-93031). "''UC ccttifrcd on .May i7, 102.t, by fl.NRA'•· 5eoior e><Cf.'.utiv,c Mar;:.i11 E. Mqu ith. r;sq• .»
             111,..,.,.4..,,.....,,, Wti#MM:ltt lbdll4 ISWft Ae Ml!IMif1'dp M«-,w•dUolnl,
             S5 USC { 78<>(a)(I} and 18 USC§ 1961(6)(0): wt,oin ;ut 11.n-e since 1001 without in.temq,ti.:m I i i ~
             CC)Qfooeraud. colfu<kd, ~ -· pl:ted.. racltctccrc,;::l, atid luw knowingly :tnd '"'illrully opcratoo as an illepl
             asrociatioo in CX1 * dctincd in 18 USC 1961 (4 ), «.r,clttr,,f1tr Ptri•teo· ffnlff'f['!I 4rllt q,lltttiffC, I.I
             llSC £ 1961fflflll, cpnfl.n11tnr romlllft<tlkrrmt, unlawful dctn wll~tion aclivitil:$ in the .0 3 -9303 1
             Cb:avtcr l l, sec :Old. 11. IS, and 16. ptedatoty loan. ndc.ing of cri:minal u;,ury debt:., (1)( 1--4, tnOMY
             llilllnd,:ring. e11torti®. mHda {o,. It{«. bmktuptC}' fraud COt1$pmtey. !heft of Chapter I .I es12.tC aMcts
             {+$$22 million in 15 USC§ 78p(b) lrici.-l~bi1i.cy short- wing: pmfii,), and radi;~emng. a pi11Wem of
             mckcte¢riOG 11.t:1ivilics. See The Parties' Rule 8009(d) Joint Scipulatc,;::l Appe1lale !Record f'ac:t&.

             PqeJO:f37
             Tue«say, f~br1r.1-,. lS. 20:Z.S
             IlG~) (P~rt-16-5) re Appeftants' Oec:laratlon ofUr,disputed f'm:s .and res,po:nse to the,COurt's Ok:t. 4,
             O(cfer, 'Feb. 13, 202,5.




Page 14 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA) .
    Case 1:25-cv-00613-MLB                      Document 14-3                 Filed 03/19/25              Page 15 of 21




Exhibit 3-Group Management's Feb. 25, 2025, entry of appearance
in 25cv00613 (NDGA).



        u                                  (16-S-NOP) (Part 16--5-l~Ol~) (Mt,D)

                                         \lNtTED s·rAT£$ OISTRI t' COURT
                                         NOR'l'lfER? DISTRICT OF GEOJtGIA
                                                                                                         I _PLAINTIFFS
                                                                                                              EXHIBIT
                                                                                                              _3;;;_,_ _



                                                  ATLANTA DIVlSlON



           ULVSS£S T, WA.IU; .rid GROUP M_AJ :ACEME, ,T,
           Appellant,!,'.,



           Al,l"HA CAPfTAJ,. AG, et •t..
           Appetfocs.



                                       NOTICE Oft APPtARA CF. OF COUNSEL

                                                  Caff No. ZScvOOfiU (MLD)
                              (AP~•· rrctm Jb,nk,niplc:y Court Cue Nfl. O:J-9JOJ1 (WLU))
           PUiASE TAKE NOTICE that- Ulys5e T, Want, hereby ffllcD his appearance as Aftornty In.




           AppeUartt Gn:,up MattaJ~n1. a i.0tc proprietorship. i oullwrizcd to be ttptcsent«I in these

           pmceedinp pro e by ,i t trolc proprietor, U l ~ T. W..re. pun.:wm\ to 2ft U.S.C. ~ 1654, wbic:h

           provide . thll.t ~Pt ti.I Mff!'.fl or the Uniled States. tltt!: fn11111n,J pcnans 11ml s.o lr proprinor:s'lllp)




           All notiCC$. plcacUng.s. mo:tlwu. ol"dcrs, and other papen in this attiotl should be served UPQn:


           0l)'$'s.e T. W\IU'e, Attotncy lrt Fm fot Appeltffit Grou.-p Mmagei:nmt
           The Offlc,e ,o:fUl_ys;scs T. W.a:re
           12:3 Linden blvd. , Ste 9-L
           Orooklyn, Y I 12:Ui -

           Pa-ge1on
           Tuesday, febn.Wy 2S, 202S
           (16-S,.HOP} IP1trt Sfi-S-NOP) rtit Appeflanl Gtoup Ml-nqe~.nt'$ <ounset• 1fflUY of .-.ppnr- In
           2se..oo613 {NOGA}.




Page 15 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt_ 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NDGA).
    Case 1:25-cv-00613-MLB                               Document 14-3                     Filed 03/19/25                  Page 16 of 21




Exhibit 4-Feb. 25, 2025, Appellants' email to the Chamber of the
Hon. District Judge Michael L. Brown, actual and constructive
receipt of filing of Appellants' Feb. 25, 2025, response, and entry of
appearance in 25cv00613 (NOGA), see Ex. 3, supra.



    ~                        ail
    0-2..25.25 re 2Scv00613 (NOGA} re Appe.llants' Ulysses T. W•re and Group
    Management's response to Dkt. • • Order (Brown. J .) and G roup Management••
    c ounsel's en1r)f of appearance ln 25cv006'13 ( NOGA).
    uty•••~·W.n
    To; ~
                  <u~,111>r.or.rr@gm.'.li1.eom>
             _ Koll>)y ,gand, u~i:.gov
                                                                                                                    Tue, Feb 25. 2025 al 't:"2 PM

    ·B<::e?; !Jiy,,.s.s W,ue <U'tWARE007@oma;tcotn>, 111.,;yw•          ~-.com
                                                                                                                        Pl.AfNTIFPS
                                                                                                                          EXHJarr
                                                        (16-5) (Part 16-5)
                                          The Office of Urysses T. Ware
                                                             '23 U ~ Qlwd,. Slfto-t..
                                                                Or~yn. NY 112:21l
                                                                 (1Hi) 8,44- 1.260
                                                                                                                    '       4-


                                                              \ltwar.007@1,mo:4,com


      ytAgLIJWJftONICAHJ) u,s, MAIL
      n...   ~~Mid._ L
      ~ StatM, 01-t;triet Coun
                                              .G rown

      ~ O•stnct of ~
     Rldwlitd ,8 . RlotNfl U .S . ~
     7 5 Ted ·,-..,._ o,we, SW
     ~OA.30303

      R •: W M111, 41'1 . ... v. IUphll c.,,n.1, .e f •J... CU.· No. 25c:'vOOSU ( N:OGAJ

      E ~ ~ { t )·~ · ~ IOhDisb'id Court. Bro,,;n, J••
      Grou;> M a n . a ~ • En'll'y OI( ~ - o l ~ In 25cV00613 { N OGA ).
                                                                                       Did:."'·
                                                                         February 13, 202s. Ortle<:; and ( 2 ) ~ t

      0.#.JudiirtGr-:
      ~
      ~ tt,., Cou<'I ""'tl'i cc,.pH)S oil ihe ~
      COUit II'> lfffi...,_.,_,-.,.~ -
                                                           .,_ta.
                            - ~ T. Warw, GM ~ ~ • $Oil). ~!Qrt.hip, fN-poeitt'utf.v iwbm.l t lhllS lotter IQ<
                                                                      w hich .,. b,a!jng ~ ·rffd Wit1'I ·tn<t Oert< of u,,. :otslrict
                                              · C aM> Ho. :ac..o061::S (NOGA):
                  1, ............. A , t ~ 10 IM 01•111et COWi. &town, .J., li>lll. <t, F •bnaty 13, 202.5, 0flNr: Thi& R ~ s e
                  l s ~ ln dhrd. ~ - -..i1h U. Court's Of'Mt, Dodtet Entry <4 , dated February 13, .2025.. and
                  ~                add,_
                                  tlla Cowt'I ~ ~                 · lhe fefJ'ltM't11\allon o f Appellant Gtoop M aNl(lt!ll"IWllnl.
                  ~ lb &llKU& as . . . $)tf0p<Nil'.~ .,.., a·rr,m,;no .AP.f>e•ant Uljr.n'es T.                w.,•.•
                                                                                                      right IO •• P l - - G rouP
                  ~ p,o- purr.ua,,l to 28               u .s.c. § 16S..
                  2.       ,. ...,,...._., G#oup .._venwnt•• E m,y ot ~      • ....,_ of
                  Appe_,..,.. ~ ..,.~ !he appe_,.nie<t 0( Ulyqn T. Ware a s A.ttom.y
                                                                                           eo.......-   In 2!!Sc'W004J-,3 (NOGA): Tb. N01ic:e of
                                                                                                                  In Fact kW Appell.tnt °'°"P
                  M ; i o ~ II ~ ~ h /p , cons.stenf Wlftl federal law •nd .th&
                  ~ \ Q O U . <I .
                                                                                                         •t~           J)l'eHffled 1n ~ •


     ~ o , v ¥ 1 t l J r ~ y submlt ffiaH f;l,,,ot to ensun, ful ~ witt> the eoud's cfiredives and to ,p n.wid«,
     OMt ~ WW'! a dear a,,o coms,,a11ensw ~taodlng of lhe mpr-tion statoa ot ~ - Group M & ~ In
     ·IH!r. JIJ)l:Mtaf..                                                                                        .

     l'l\aMyou lot 'foul' ►ibnat'&~tolhl5matter.




Page 16 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of 0kt. 6, Orde, March 10,
2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
    Case 1:25-cv-00613-MLB                      Document 14-3       Filed 03/19/25        Page 17 of 21




Exhibit 5-Appellees' Alpha Capital, AG, et al., voluntary Rule
41(a)(2) fdismissal with preiudice of the underlying 02cv2219 (SONY)
lawsuit.

                       Case 1:25-cv-00613-MLB    Document 5-13   Flied 03/07/25   Page 46 of 270




             Exhibit 2--Dkt. 90 (Binding Final Judgment)- 02cv2219 (SDNY)
             Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
             § 1109(b) statutory party in inte.rest Ulysses T. Wa.re' s Final Judgment-
             December 20, 2007, Dkt. 90, Case No. 02cv22 19 (SDNY), DistrictJudge
             Leonard B. Sand, Fed. R. Civ, P. Rule 41(a)(2) voluntary, ex arte
             ,   ···
                            0
                                1   witt,i,                         · ·               '       ·J
                                                                                               I




Page 17 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NDGA) .
    Case 1:25-cv-00613-MLB                     Document 14-3                Filed 03/19/25             Page 18 of 21




                 Case 1:25-cv-00613-MLB           Document 5-13        Filed 03/07/25       Page 47 of 270




             Page 24 of 162
             Tuesday, February 18, 2025
             (13-6) (Part 15-6) re: The Parties' Joint Stipulated Sankr. Rule 8009{g)/8009(d) Appellate Factual
             Jurisdictional and Sanctions Record on Appeal, 25cv006l.3 {NOGA) (Brown, J.).



Page 18 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA).
    Case 1:25-cv-00613-MLB                 Document 14-3       Filed 03/19/25        Page 19 of 21




Exhibit 6-March 12, 2025, filing of Appellants' Rule 59(e)
application to vacate Dkt. 3, March 10, 2025, order (MLB).




                    U.S. Postal Sorvlco'"
                    CERTIFIED MAIL.. HECEIPT
                    Or.!f'MHl'iC~,,Qn,Y"




                                                                                                    ...
                                                                                                    t




Page 19 of 20
Wednesday, March 12, 2025
(17-2) (Part 17-2) re : Appellants'. Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
2025 . Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
the District Clerk (NOGA) .
      Case 1:25-cv-00613-MLB             Document 14-3          Filed 03/19/25       Page 20 of 21




  The Office of Ulysses T. Ware
  123 Linden Blvd. , Ste 9-L
  Brooklyn, NY 11226
  (718) 844-1260
  utware007@gmail.com

  By: Isl Ulysses T. Ware for the Appellants

  Filed on March 12, 2025 via U.S. mail




                                          Certificate of Service

  I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that

  on this 12th day of March 2025, I caused to be served a true and correct copy of the foregoing

  Appellants' Application for Rule 59(e) Reconsideration ofDkt. 6, Order, via electronic mail to all

  Appellees; and


  The Office of the District Clerk (NDGA) via certified mail#: 7022 0410 0001 1417 8798

~1::::;-wi::6N_
  Ulysses T. Ware




                                        End of document




  Page 20 of 20
  Wednesday, March 12, 2025
  (17-2) (Part 17-2) re: Appellants' Rule 59(e) application of reconsideration of Dkt. 6, Orde, March 10,
  2025. Filed on March 12, 2025, via certified mail#: 7022 0410 00011417 8798 addressed to the Office of
  the District Clerk (NDGA).
                                      Case 1:25-cv-00613-MLB     Document 14-3     Filed 03/19/25
                                                                                           Retail Page 21 of 21              U.S. POSTAGE PAID
                                                                                                                             FCM LG ENV


                                                                                                                           I $7.16
                                                                                                                             BROOKLYN, NY 11226
                                                                                            i;J
                                                                                            IJNfTED .ST.dTES      11111
                                                                                                                             MAR 12, 2025
                                                                                           l"OST.4L SE/tVIC.E s

                                                                                                                   30303
                                                7022 0410 0001 1 17 8798
                                                                                           RDC99                             S2324K504996-40

\N~-(, I ,e_\. «.\' v, {\ \ ~½, (C&.f,
 Z.. S ~y oo<o 13 (N DGA)

...lye'.    'PD-A'~ \1--2
           -P,,.\e, 51(e) "f p\ ,-zJf o,._ .\--d VH..k
             Mv<M l O1 1.t> 2.S, 0 .vA(JV, l.) ~ l. fa~
                                       CLEARED SECURITY


                                       U.S. fvlAk~HAL~ ~t:RVICE
                                             Atlanta, Georgia
                                   CLEARED SECURITY




                                                          Office of the District Clerk
                                                          U.S. District Court (NOGA)
                                                          Richard B. Russell U.S. Courthouse
                                                          75 Ted Turner Drive, SW
                                                          Atlanta, GA 30303




 /~ / l-lt,u ;)._ W oA-
            C, ""     M¾"        J (,._ sJ r_
